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 The following constitutes the ruling of the court and has the force and effect therein described.



  Signed March 10, 2022
                                            United States Bankruptcy Judge
 ______________________________________________________________________




                                   IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE NORTHERN DISTRICT OF TEXAS
                                              LUBBOCK DIVISION

             IN RE:                                                              §
                                                                                 §
             REAGOR-DYKES MOTORS, LP, et al. 1                                   § Case No. 18-50214-rlj-11
                                                                                 § Jointly Administered
                                         Debtors.                                §

         ORDER RESOLVING REAGOR-DYKES AUTO GROUP CREDITORS LIQUIDATING
                   TRUST’S OBJECTION TO CLAIM OF DAVID THOMAS

               This matter comes before this Court on the objection to the claim filed by Claimant David

        Thomas (the “Claimant”) in the Reagor-Dykes Auto Group Creditors Trust’s Objection to Claim of David

        Thomas (the “Objection”) filed by Reagor-Dykes Auto Group Creditors Trust (the “Trust”),

        successor in interest to Reagor-Dykes Motors, LP and its debtor affiliates (collectively, “Reagor-

        Dykes” or the “Debtors”), in the above-captioned chapter 11 cases (the “Chapter 11 Cases”).




        1
          The Debtors are Reagor-Dykes Imports, LP (Case No. 18-50215), Reagor-Dykes Amarillo (Case No. 18-50216), Reagor-Dykes Auto
        Company, LP (Case No. 18-50217), Reagor-Dykes Plainview, LP (Case No. 18-50218), Reagor-Dykes Floydada, LP (Case No. 18-
        50219), Reagor-Dykes Snyder, L.P. (Case No. 18-50321), Reagor-Dykes III LLC (Case No. 18-50322), Reagor-Dykes II LLC (Case No.
        18-50323) and Reagor Auto Mall I LLC (Case No. 18-50325).


        ORDER REGARDING OBJECTION TO CLAIM OF DAVID THOMAS                                                                           1
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               It appearing that this Court has jurisdiction to grant the relief sought with regard to the

        Claimant’s Claim in the Objection in accordance with 28 U.S.C. §§ 157 and 1334; and consideration

        of the relief requested being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper

        before this Court pursuant to 28 U.S.C, §§ 1408 and 1409; and due and proper notice of the Objection

        having been provided, and it appearing that no other or further notice need be provided; and the Court

        having reviewed the Objection and having been advised by counsel for Claimant and counsel for the

        Trust that an agreement has been reached with regard to the Objection and allowance of the Claimant’s

        Claim as set forth herein; and upon all of the proceedings had before the Court and after due deliberation

        and sufficient cause appearing therefor; it is hereby ORDERED that:

                   1.     Claimant’s Claim, assigned Pacer Claim no. 54, is hereby allowed as a general

                   unsecured claim in the agreed amount of $68,091.21 to be treated in Class 11 in accordance

                   with the terms and conditions of the Plan as confirmed; and

                   2.     Consistent with the agreement reached between counsel for Claimant and counsel for

                   the Trust, all of Claimant’s remaining filed proofs of claim other than Pacer claim no. 54, if

                   any, are accordingly disallowed and expunged in their entirety.

                                                 ### End of Order ###




        ORDER REGARDING OBJECTION TO CLAIM OF DAVID THOMAS                                                       2
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        APPROVED, STIPULATED AND AGREED BY:


          By: /s/ C. Ashley Ellis                      By: /s/ William L. Siegel
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          Emily F. Shanks (TX 24110350)                State Bar No. 18342480
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          COUNSEL TO THE REAGOR-DYKES
          AUTO GROUP CREDITORS LIQUIDATING             COUNSEL TO DAVID THOMAS
          TRUST, SUCCESSOR IN INTEREST TO
          DEBTORS REAGOR-DYKES MOTORS, LP et al.




        ORDER REGARDING OBJECTION TO CLAIM OF DAVID THOMAS                                 3
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